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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )          Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
                                               )

                      NOTICE OF JOINT PRETRIAL STIPULATIONS

   I.      STIPULATIONS AS TO EXHIBITS

        The parties agree to the admission of the following exhibits into the trial record:

 Plaintiffs’ Exhibits
    PX No. Description                                               DX No.
              Fish ELVIS Registrant Details CONFIDENTIAL as of
          1 4/14/16_
              Bucci ELVIS Registrant Details CONFIDENTIAL as
          2 of 4/14/16
              Boynton ELVIS Registrant Details CONFIDENTIAL
          3 as of 4/14/16_
              Stricker ELVIS Registrant Details CONFIDENTIAL
          4 as of 4/14/16_
              Hutchinson ELVIS Registrant Details
          5 CONFIDENTIAL as 4/14/16_
         13 LWV Flyers for Public Distribution                       DX 916
             Lehman email re: non-citizen attempting to register
          22 CONFIDENTIAL

          40 2000-2016 General Election Official Results
          41 Spreadsheet: Def. Resp. to 1st RFP, Request No. 3
             Spreadsheet: Def. Resp. to 1st RFP, Request No. 3 -
          42 Suspense List 03.31.2016
          43 Spreadsheet: Def. Resp. to 1st RFP, Request No. 4
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          Spreadsheet: Def. Resp. to 1st RFP, Request No. 4 -
       44 90 Day Rule Supp.
          Spreadsheet: Def. Resp. to 1st RFP, Request No. 7 –
       45 TDL
          Spreadsheet: Def. Resp. to 1st RFP, Request No. 7 -
       46 TDL Supp.
          Spreadsheet: Def. Resp. to 1st RFP, List of Names
       48 Supp. 6, 7, 8
                                                                  DX 882, 1068
       50 Communications re: use of SAVE
                                                                  DX 946
       55    McCullah email re: POC
       61    Kansas Application for Benefits
       65    State of Kansas County Election Manual
       80    Kansas Voter Registration Appl. CONFIDENTIAL         DX 823
             Undocumented Registration Documentation (non-
       95    Sedgwick County) CONFIDENTIAL
       96    Barton County ELVIS Screenshots CONFIDENTIAL
             Cordero-Zaputo ELVIS Registrant Details
       97    CONFIDENTIAL
             Yanet Miller ELVIS Registrant Details
       98    CONFIDENTIAL
             Srithongrung ELVIS Registrant Details
       99    CONFIDENTIAL
             Fernandez ELVIS Registrant Details
     100     CONFIDENTIAL
             Gonzalez-Perez ELVIS Registrant Details
     101     CONFIDENTIAL
                                                                  DX 955
     110 Compilation of Names Spreadsheet (Coded)
                                                                  DX 959
     111 Meta-Analysis of Non-Citizen Registration Estimates
         Non-Citizen Registration Estimates Confidence            DX 960
     112 Intervals



Defendant’s Exhibits
      DX No. Description
             KS Voter Registration Application (Caskey Dep. 12/1/15 Ex. 3)
         801 (Fish- Def’s Resp to P’S SJ Mo Ex. P)
             Federal Voter Registration Application (Caskey Dep. 12/1/15 Ex. 4)
         802 (Fish- Def’s Resp to P’S SJ Mo Ex. Q)
         803 Voter Registration and Absentee Ballot (Caskey Dep. 12/1/15 Ex. 5)
         804 Online Voter Registration Application (Caskey Dep. 12/1/15 Ex. 6)

            816 2014 General Election. (Fish- Camarota Dep. 10/17/16 Ex. 13)

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   825 Kansas DOV Receipt
   829 Boynton ELVIS file-CONFIDENTIAL-as of 2/13/18
   833 Registrant Detail (Bucci ELVIS file)- CONFIDENTIAL--as of 2/13/18
   837 Form RCD
   838 Registrant Detail (Stricker ELVIS file)--as of 2/13/18
   848 Registrant Document (Hutchinson ELVIS file)--as of 2/13/18
       Correspondence from JOCO office with attachments (Fish- Hutchinson
   849 5/10/16 Ex. 8)

   850 Correspondence from JOCO dated 12.11.15 (Fish- Hutchinson 5/10/16 Ex. 9)
       Correspondence from JOCO election office with attachments (Fish-
   851 Hutchinson 5/10/16 Ex. 10)
       “Important message” from JOCO election office (Fish- Hutchinson 5/10/16
   853 Ex. 12)

   859 Fish- Photocopy of DGCO elections postcard (S. Fish- 5/10/16 Ex. 22)

   860 Correspondence from Elections office
   861 Registrant detail for Fish- (ELVIS file)---as of 2/13/18
   862 Correspondence from DGCO clerk (S. Fish- 5/10/16 Ex. 25)

         Letter from Kobach, memo from Kriegshauser; letter from Majorkas; email
   882   exchange and program registration checklist (Fish- B. Caskey 6/15/16 Ex. 10)
   883   Kansas Election Standards Manual
  1027   Interagency agreement
  1052   Interagency agreement

  1058 Bednasek Def’s Resp to P’S Mo for SJ Ex. X, SAVE correspondence

  1059 Interagency agreement
  1061 Fish- Def’s SJ Mo Ex. K, Mayorka Letter, August 20, 2012

  1069   Fish- Def’s SJ Mo Ex. AA, KWK Letter to Napolitano, May 14, 2012
  1078   KS 2012 General Election Turnout information
  1079   KS 2010 October Voter Registration Numbers
  1080   KS 2014 October Voter Registration Numbers
  1081   American Community Survey data referenced in Camarota Report




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   II. STIPULATIONS AS TO EXPERT REPORTS AND DECLARATIONS

       The parties agree to waive authenticity and hearsay objections to the admissibility of expert

reports and declarations served in these cases, including all amended, rebuttal, and supplemental

expert reports, PROVIDED the expert is available at trial for examination and cross examination

(unless the parties agree in writing to waive such requirement) on all aspects of the expert’s (a)

direct testimony, (b) written declarations or reports, (c) amended, rebuttal, or supplemental

declarations or reports, and (d) underlying data and materials relied upon in the preparation of such

written declarations or reports. The parties reserve, and do not waive, the right to object to the

admissibility of expert testimony and expert declarations and reports, in whole or in part, on any

other grounds, including but not limited to objections that an expert is not qualified.

   III. STIPULATIONS AS TO MUTUAL WITNESSES

       The parties agree that, with respect to two witnesses employed by or associated with the

Kansas Secretary of State’s Office, Bryan Caskey and Tabitha Lehman, Defendant may conduct

his direct examination immediately after the Plaintiffs’ examination of these witnesses during their

case-in-chief, followed by the parties’ respective cross-examinations/re-direct examinations.

Defendant agrees to waive any requirement that these witnesses be served with subpoenas to

procure their testimony.


DATED this 19 of February, 2018.

Respectfully submitted,

 /s/ Stephen Douglas Bonney                           /s/ Dale E. Ho
 STEPHEN DOUGLAS BONNEY (#12322)                      DALE HO*
 American Civil Liberties Union of Kansas             R. ORION DANJUMA*
 6701 W 64th St., Suite 210                           SOPHIA LIN LAKIN*
 Overland Park, KS 66202                              American Civil Liberties Union Foundation,
 Phone: (913) 490-4100                                125 Broad St.
 Fax: (913) 490-4119                                  New York, NY 10004
 dbonney@aclukansas.org                               Phone: (212) 549-2693

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                                       dale.ho@aclu.org
                                       odanjuma@aclu.org
                                       slakin@aclu.org

NEIL A. STEINER*                       ANGELA M. LIU*
REBECCA KAHAN WALDMAN*                 Dechert LLP
DAPHNE T. HA*                          35 West Wacker Drive
Dechert LLP                            Suite 3400
1095 Avenue of the Americas            Chicago, Illinois 60601-1608
New York, NY 10036                     Phone: (312) 646 5816
T: (212) 698-3822                      Fax: (312) 646 5858
F: (212) 698-3599                      angela.liu@dechert.com
neil.steiner@dechert.com
rebecca.waldman@dechert.com
daphne.ha@dechert.com
                                       /s/ Sue Becker_____________________
                                       Kris W. Kobach, Kansas Bar No. 17280
                                       Sue Becker, Kansas Bar No. 27806
                                       Garrett Roe, Kansas Bar No. 26867
                                       Kansas Secretary of State’s Office
                                       120 S.W. 10th Ave.
                                       Topeka, KS 66612
                                       Telephone: (785) 296-4575
                                       Facsimile: (785) 368-8033
                                       Email: kris.kobach@ks.gov
                                               sue.becker@ks.gov
                                               garrett.roe@ks.gov

                                       Attorneys for Defendant Kobach




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